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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 Merck & Co., Inc.,

                      Plaintiff,                       Case No. 1:23-cv-1615-CKK

                         –v–

 XAVIER BECERRA, U.S. Secretary of Health              Judge Colleen Kollar-Kotelly
 & Human Services, et al.,


                    Defendants.



   UNOPPOSED MOTION OF NATIONALLY RECOGNIZED HEALTHCARE AND
    MEDICARE EXPERTS FOR LEAVE TO FILE BRIEF AS AMICI CURIAE IN
 SUPPORT OF DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT AND
    IN OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Local Rule 7(o)(4), movants Stuart Altman, PhD; Robert A. Berenson, MD;

Donald Berwick, MD; David Blumenthal, MD; Francis J. Crosson, MD; Paul Ginsburg, PhD;

Marilyn Moon, PhD; Robert D. Reischauer, PhD; and Bruce Vladeck, PhD respectfully move the

Court for leave to file a brief as amici curiae in support of Defendants. Both parties have consented

to the filing of this brief. A copy of the proposed brief is attached as Exhibit A.


I.     INTEREST OF MOVANTS

       Movants are nationally recognized experts in healthcare, healthcare finance, and Medicare,

who have led federal agencies and non-profit organizations dedicated to the effective

administration of the Centers for Medicare & Medicaid Services (CMS). As experts in healthcare,

movants place a high value on the financial stability of the Medicare program, and on the federal

government’s ability to manage costs for healthcare services provided to beneficiaries.
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II.    MOVANTS’ BRIEF WILL BE USEFUL TO THE COURT’S CONSIDERATION
       OF THIS APPEAL.

       As experts in healthcare, healthcare finance, and Medicare, movants have valuable insight

to inform the Court’s consideration of Plaintiff’s Motion for Summary Judgment and Defendants’

Cross-Motion for Summary Judgment. Movants are uniquely positioned to explain: that ensuring

prescription drug price affordability is essential to the financial stability of the Medicare program;

that the authority conferred on CMS by the Drug Price Negotiation Program to negotiate drug

prices for the Medicare program is consistent with the authority that Congress has given CMS to

limit excessive prices of other Medicare services; that this authority is also consistent with that

given to other agencies to limit drug prices in other federal government programs; and, finally,

that during the past 40 years none of the legal challenges to this federal authority to limit prices

for drugs and services paid by federal healthcare programs has succeeded .

III.   CONCLUSION

       Based on the foregoing, movants respectfully request that the Court grant this motion for

leave to file a brief as amici curiae in support of Defendants and accept for filing the amicus curiae

brief submitted contemporaneously with this motion. A proposed order is submitted with this

motion.

Date: September 18, 2023                              /s/ William B. Schultz
                                                      William B. Schultz (D.C. Bar No. 218990)
                                                      Margaret M. Dotzel (D.C. Bar No. 425431)
                                                      Alyssa M. Howard (D.C. Bar No. 1708226)
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                                                      Counsel for Amici Curiae

                                                  2
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2023, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record who have consented to electronic notification.

                                                    /s/ William B. Schultz
                                                    William B. Schultz (D.C. Bar No. 218990)
        Case 1:23-cv-01615-CKK Document 42 Filed 09/18/23 Page 4 of 33




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 Merck & Co., Inc.,

                      Plaintiff,                 Case No. 1:23-cv-1615-CKK

                        –v–

 XAVIER BECERRA, U.S. Secretary of Health        Judge Colleen Kollar-Kotelly
 & Human Services, et al.,


                     Defendants.


   [PROPOSED] ORDER GRANTING UNOPPOSED MOTION OF NATIONALLY
 RECOGNIZED HEALTHCARE AND MEDICARE EXPERTS FOR LEAVE TO FILE
 BRIEF AS AMICI CURIAE IN SUPPORT OF DEFENDANTS’ CROSS-MOTION FOR
  SUMMARY JUDGMENT AND IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                         SUMMARY JUDGMENT


       This matter is before the Court on the Unopposed Motion of Nationally Recognized

Healthcare and Medicare Experts for Leave to File Brief as Amici Curiae in Support of

Defendants’ Motion for Summary Judgment and in Opposition to Plaintiffs’ Motion for Summary

Judgment. For good cause shown, the Motion is GRANTED. The attached proposed amicus brief

shall be docketed.


                                         Judge Colleen Kollar-Kotelly
                                         UNITED STATES DISTRICT JUDGE
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             EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



Merck & Co., Inc.,

                     Plaintiff,            Case No. 1:23-cv-1615-CKK

                       –v–

XAVIER BECERRA, U.S. Secretary of Health   Judge Colleen Kollar-Kotelly
& Human Services, et al.,


                 Defendants.




    BRIEF OF NATIONALLY RECOGNIZED HEALTHCARE AND MEDICARE
  EXPERTS AS AMICI CURIAE IN SUPPORT OF DEFENDANTS’ CROSS-MOTION
FOR SUMMARY JUDGMENT AND IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                        SUMMARY JUDGMENT




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                                           Margaret M. Dotzel (D.C. Bar No. 425431)
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                               INTEREST OF AMICI CURIAE1

        The following Amici are nine nationally recognized experts in healthcare, healthcare

finance, and Medicare, who place a high value on the financial stability of the Medicare program

which is administered by the U.S. Department of Health and Human Services. As experts in

healthcare and Medicare, Amici are qualified to explain how the recently enacted Drug Price

Negotiation Program is consistent with the Government’s well-established power to leverage its

purchasing authority to constrain excessive fees charged to federal healthcare programs.


       Stuart Altman, PhD is the former Chairman of the Prospective Payment Assessment
        Commission (now the Congressional Medicare Payment Advisory Commission or
        MedPAC). Mr. Altman also served as Deputy Assistant Secretary for Planning and
        Evaluation/Health at the U.S. Department of Health Education and Welfare and as a
        member of the National Bipartisan Commission on the Future of Medicare.

       Robert A. Berenson, MD is the former Director of Health Plans and Providers, Health
        Care Financing Administration (the predecessor to Centers for Medicare & Medicaid
        Services). Dr. Berenson also served as Vice Chair of MedPAC.

       Donald Berwick, MD is a former Administrator of the Centers for Medicare & Medicaid
        Services. Dr. Berwick also served as the President and Chief Executive Officer of the
        Institute for Healthcare Improvement, a non-profit organization.

       David Blumenthal, MD is the former National Coordinator for Health Information
        Technology. Dr. Blumenthal is also the former President of the Commonwealth Fund.

       Francis J. Crosson, MD is the former Chairman of MedPAC. Dr. Crosson also served on
        the National Advisory Committee of the Agency for Healthcare Research and Quality.




1
         Pursuant to Local Rule 7(o)(4), undersigned counsel for Amici certify that: no party’s
counsel authored this amicus brief in whole or in part; no party or party’s counsel contributed
money that was intended to fund preparing or submitting this amicus brief; and no person or entity,
other than Amici or their counsel, contributed money intended to fund the preparation or
submission of this amicus brief. All parties have consented to the Amici filing this amicus brief in
this litigation. This brief represents the views of the individual Amici and not necessarily of their
organizations.
                                                 1
    Case 1:23-cv-01615-CKK Document 42 Filed 09/18/23 Page 13 of 33




   Paul Ginsburg, PhD is the former Executive Director at the Physician Payment Review
    Commission (the predecessor to MedPAC). Dr. Ginsburg also served as Vice Chair of
    MedPAC and Deputy Assistant Director of the Congressional Budget Office.

   Marilyn Moon, PhD is the former Public Trustee for the Social Security and Medicare
    Trust Funds. Dr. Moon also served as Chair of the Maryland Health Care Commission.

   Robert D. Reischauer, PhD is the President Emeritus of the Urban Institute. Mr.
    Reischauer also served as Director of the Congressional Budget Office, Public Trustee of
    the Social Security and Medicare Trust Funds, and Vice Chair of MedPAC.

   Bruce Vladeck, PhD. is the former Administrator of the Health Care Financing
    Administration. Dr. Vladeck also served on the National Bipartisan Commission on the
    Future of Medicare.




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                                          INTRODUCTION
       In 2022, the Centers for Medicare & Medicaid Services (CMS) paid $973 billion to provide

healthcare services to the elderly and disabled through the federal Medicare program. A program

of this size is possible only because Congress has authorized CMS to manage costs. Over the past

50 years, federal legislation has empowered CMS to pay hospitals, physicians, and other providers

much less for their services than they would receive from commercial insurance. In fact,

prescription drugs are the only major component of Medicare that have not been subject to

meaningful cost controls. Now, to address astronomical—and quickly growing—drug costs,

Congress has enacted the Drug Price Negotiation Program (DPNP) to give the Department of

Health and Human Services (HHS) limited authority to negotiate the prices Medicare pays for

some of the highest-spending covered drugs. With respect to these select few prescription drugs,

the DPNP finally puts some drug manufacturers in a position similar to that faced by Medicare-

participating providers and physicians.

       Merck’s challenge to the DPNP essentially attacks the Government’s ability to run the

Medicare program. The Amici, nationally recognized experts in healthcare, healthcare finance, and

Medicare, submit this brief to explain: that ensuring prescription drug price affordability is

essential to the financial stability of the Medicare program; that the authority conferred on CMS

by the DPNP to negotiate drug prices for the Medicare program is consistent with the authority

that Congress has given CMS to limit excessive prices of other Medicare services; that this

authority is also consistent with that given to other agencies to limit drug prices in other federal

government programs; and, finally, that the courts have uniformly rejected challenges to the

federal authority to limit prices for drugs and services paid by federal healthcare programs.




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                                        BACKGROUND

    A. The Medicare Program

       As the largest single purchaser of healthcare in the United States, the Medicare program

pays one in every five healthcare dollars spent.2 Today, more than 65 million elderly or disabled

Americans rely on Medicare for government-funded health insurance, which covers both

healthcare services and prescription drugs for eligible beneficiaries.3 See generally 42 U.S.C. §

1395 et seq. Traditional Medicare contains two parts: Part A covers services provided by hospitals

and other institutional care providers, while Part B pays for outpatient services, including

outpatient hospital services, physician visits, diagnostic tests and lab services, and drugs

administered by physicians. Part B covers a relatively small number of drugs (617 in 2021), which

are typically administered through infusion or injection.4 Under Part B, Medicare enrollees are

often saddled with significant drug costs. Once beneficiaries reach their deductible ($226 in 2023),

they pay 20% coinsurance on Part B drugs.5


2
         See Meena Seshamani, Elizabeth Fowler, & Chiquita Brooks-LaSure, Building on the CMS
Strategic Vision: Working Together for a Stronger Medicare, CMS (Jan. 11, 2022),
https://www.cms.gov/blog/building-cms-strategic-vision-working-together-stronger-
medicare#:~:text=As%20the%20largest%20single%20purchaser,force%20in%20the%20United
%20States.
3
         See Medicare Monthly Enrollment, CMS (May 2023), https://data.cms.gov/summary-
statistics-on-beneficiary-enrollment/medicare-and-medicaid-reports/medicare-monthly-
enrollment.
4
         Drug Coverage Under Different Parts of Medicare at 1, CMS (Mar. 2023),
https://www.cms.gov/outreach-and-education/outreach/partnerships/downloads/11315-p.pdf; see
Medicare Part B Spending by Drug, CMS (last modified Mar. 6, 2023),
https://data.cms.gov/summary-statistics-on-use-and-payments/medicare-medicaid-spending-by-
drug/medicare-part-b-spending-by-drug.
5
         This copay will decrease under a provision of the Inflation Reduction Act which limits
beneficiaries’ coinsurance responsibility when a drug’s price increases have outpaced inflation.
Although many of Medicare’s enrollees purchase supplemental insurance to defray the costs of
coinsurance, or are covered by Medicaid or retiree plans, nearly five million individuals are left
to cover these costs on their own. See Gabrielle Clerveau, Nancy Ochieng, et al., A Snapshot of
Sources of Coverage Among Medicare Beneficiaries, Kaiser Fam. Found. (Aug. 14, 2023),
                                                 4
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       CMS contracts with insurance plans to offer Medicare participants benefits under Part C.6

Under Part C, Medicare beneficiaries can obtain benefits covered under Part A and Part B, plus

additional benefits, typically including the Part D prescription drug benefit. Medicare payments to

Part C plans are based on a percent of average per capita spending in traditional Medicare (which

ranges from 95% to 115%).7

       In 2003, Congress established Medicare Part D, a prescription drug benefit available to all

Medicare recipients. Under Part D, Medicare subsidizes the cost of drugs administered outside of

hospitals and outpatient facilities. 42 U.S.C. § 1395w-101 et seq. In Part D, Congress barred the

federal government from participating in price negotiations between drug manufacturers or

pharmacies and prescription drug plan sponsors through the “noninterference” clause. 42 U.S.C.

§ 1395w-111(i). In the years since the passage of Part D, however, it has become increasingly

evident that market forces cannot curb prescription drug prices without competitors even though

competition within the market for prescription drugs has largely succeeded at moderating the

growth of costs for prescription drugs that face competition from generics or medications treating

the same condition.8 This leaves Medicare with no leverage over excessive drug prices, which

must be borne by Medicare’s beneficiaries and taxpayers.




https://www.kff.org/medicare/issue-brief/a-snapshot-of-sources-of-coverage-among-medicare-
beneficiaries/.
6
        See Health Plans – General Information, CMS (May 9, 2023),
https://www.cms.gov/medicare/health-
plans/healthplansgeninfo#:~:text=The%20Balanced%20Budget%20Act%20of,)%20program%2
C%20effective%20January%201999.
7
        See Medicare Advantage Program Payment System, Medicare Payment Advisory Comm’n
(revised                Oct.                2021),                https://www.medpac.gov/wp-
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8
        Prescription Drugs: Spending, Use, and Prices at 16, Cong. Budget Off. (Jan. 2022),
https://www.cbo.gov/system/files/2022-01/57050-Rx-Spending.pdf.
                                                5
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       Under Part D, beneficiaries’ financial responsibility for drugs depends on how much they

spend on prescription drugs in a given plan year, and some beneficiaries spend thousands of dollars

out-of-pocket before they hit the catastrophic coverage phase in which copays and coinsurance for

drugs are significantly reduced. In 2019, beneficiaries paid more than $16.1 billion out-of-pocket

for Part D drugs, an increase of 27% over the previous five years.9 Unsurprisingly, in the same

year, 23% of seniors reported difficulty affording their prescription drugs.10 Beginning in 2025,

out-of-pocket spending by beneficiaries for Part D will be capped at $2,000 per year under the

Inflation Reduction Act (IRA).11

       Skyrocketing drug costs have also plagued the program. In 2022, Medicare spent $118

billion on Part D drugs—an increase of $36 billion from 2018.12 These increases are largely driven

by brand-name, single-source drugs without generic competition, the average net price of which

more than doubled from 2009 to 2018.13 By 2019, these drugs “accounted for almost three quarters

(72 percent) of total Part D spending.” H.R. Rep. No. 116-324, pt. 1 at 38 (2019). Moreover,

Medicare’s spending on prescription drugs is not expected to slow down. During the next decade,




9
        Frequently Asked Questions About Prescription Drug Pricing and Policy at 8–9, Cong.
Rsch. Serv. (updated May 6, 2021), https://crsreports.congress.gov/product/pdf/R/R44832/7.
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        See Ashley Kirzinger et al., KFF Health Tracking Poll—February 2019: Prescription
Drugs, Kaiser Fam. Found. (Mar. 1, 2019), https://www.kff.org/health-costs/poll-finding/kff-
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        Bisma A. Sayed, Kenneth Finegold, et al., Inflation Reduction Act Research Series:
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Inflation Reduction Act, Assistant Sec. for Planning & Evaluation (July 7, 2023),
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12
        Compare Baseline Projections: Medicare, Cong. Budget Off. (May 2023),
https://www.cbo.gov/system/files/2023-05/51302-2023-05-medicare.pdf,          with    Baseline
Projections:        Medicare,           Cong.       Budget        Off.       (May       2019),
https://www.cbo.gov/system/files?file=2019-05/51302-2019-05-medicare.pdf.
13
        Prescription Drugs: Spending, Use, and Prices, supra note 8, 16.
                                                6
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CMS projects that Medicare will spend between 4% and 12% more on prescription drugs (not

including drugs administered in hospitals or physician’s offices) each year.14

     B. The Drug Price Negotiation Program

        Through the creation of the DPNP, Congress has begun the process of stemming the high

costs and rapidly increasing prices of drugs for Medicare and its beneficiaries by allowing the

Secretary of HHS to negotiate prices of a select number of the highest-spending drugs in Part D,

and later, Part B. See Inflation Reduction Act, Pub. L. 117-169, 42 U.S.C. § 1320f et seq. On

August 29, 2023, HHS selected 10 of the highest-spending, single-source, brand-name drugs that

have been on the market for at least seven years (or 11 years for biologics).15 See §§ 1320f-1(b)–

(d). From October 1, 2023 until August 1, 2024, CMS and manufacturers of the selected drugs that

choose to participate will negotiate a price for each drug. Id. § 1320f(b)–(d). If CMS and the

manufacturer agree on a price during this period, the drug will become available to Part D at that

price in 2026. 42 U.S.C.§ 1320f-1(c)(2).

        As outlined in more detail in the Government’s brief, Defs. Opp’n at 5–6, ECF No. 25,

drug manufacturers that do not wish to participate in negotiations or enter an agreement may

transfer their interest in the selected drug to another entity; withdraw from Medicare Parts B and

D and Medicaid (which is similar to the only option currently available to many providers who

choose not to accept Medicare rates); or pay an excise tax.16



14
        NHE Fact Sheet, CMS (last modified July 31, 2023), https://www.cms.gov/Research-
Statistics-Data-and-Systems/Statistics-Trends-and-Reports/NationalHealthExpendData/NHE-
Fact-Sheet#:~:text=NHE%20grew%202.7%25%20to%20%244.3,17%.
15
        See HHS Selects the First Drugs for Medicare Price Negotiation, HHS (Aug. 29, 2023),
https://www.hhs.gov/about/news/2023/08/29/hhs-selects-the-first-drugs-for-medicare-drug-
price-negotiation.html.
16
         For the reasons set forth in the Government’s brief, see Defs. Opp’n at 16–18, Merck is
incorrect that drug manufacturers will not be permitted to withdraw from the Medicare program at
will.
                                                7
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       The DPNP is precisely tailored to address the issues with Part D’s original, fragmented

model of price negotiations, where the program is administered by regional plan sponsors that

separately negotiate with individual drug companies, which has yielded skyrocketing prescription

drug prices paid by Part D. CMS is only empowered to select a drug for negotiation where that

drug has had an unchallenged market position for at least seven years and is one of the highest

spending drugs paid for by taxpayers and beneficiaries. For these drugs, Congress has designed a

cautious negotiation process, which starts off with a small set of covered drugs under Part D and

increases slowly to include some covered drugs under Part B. These innovations are expected to

begin to address the precipitous recent rise in drug prices impacting both the Medicare program

and beneficiaries. The Congressional Budget Office projects that the DPNP will save nearly $100

billion in Medicare spending from 2026 to 2031—a significant savings, but a small percentage of

what the program will spend on prescription drugs during that time.17


                                         ARGUMENT

       The DPNP is consistent with the federal government’s well-established ability to regulate

the prices that the Medicare program pays for services by physicians, hospitals, and other

providers. Further, Congress has also extended this cost-controlling authority to Medicaid, the

Department of Veterans Affairs (VA), the Coast Guard, the Department of Defense (DoD), and

the Vaccines for Children Program, which are all entitled to significant discounts or rebates from

drug companies when they purchase prescription drugs. Likewise, in the 340B Drug Program,

Congress has required substantial discounts for drugs used by certain providers serving low-

income populations. Congress has also limited prices for Part D drugs in certain circumstances



17
        See    Cost     Estimate,     Cong.     Budget     Off.          (Sept.     7,     2022),
https://www.cbo.gov/system/files/2022-09/PL117-169_9-7-22.pdf.
                                                8
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through the Affordable Care Act (ACA). Merck cannot distinguish these long-standing statutory

authorities to establish prices from HHS’s ability to likewise negotiate prescription drug prices

paid by Medicare through the DPNP.

        In claiming that the DPNP is an uncompensated taking of property in violation of the

Constitution, Merck seeks to relitigate positions repeatedly rejected by courts in response to other

challenges brought against federal healthcare programs. Moreover, Merck’s reliance on Nat’l

Fed’n of Indep. Bus. v. Sebelius (NFIB), 567 U.S. 519 (2012) is entirely misplaced. See Merck

Mot. Summ. J. at 37–48. The Supreme Court’s ruling on the Medicaid expansion in NFIB hinged

on the rights of States under the Tenth Amendment in jointly administering the Medicaid program

with the federal government. Such rights do not apply to private parties’ relationships with the

federal government.18

     A. Congress Has Provided HHS Broad Authority to Regulate the Prices Medicare Will
        Pay for Healthcare Services Other than Drugs.

        Initially, there were limited cost controls in Medicare. Under both Part A and Part B,

healthcare providers were entitled to “reasonable costs” for hospital and institutional services or

“usual, customary and reasonable charges” for physicians and other medical services.19 But it soon

became clear that without additional regulatory limits, Medicare’s original “reasonable cost”

system was unsustainable. To protect taxpayers from having to pay excessive rates for Medicare

services, Congress has amended these payment structures numerous times over the past 50 years,




18
         For the reasons set forth in the Government’s Cross-Motion, see Defs. Opp’n at 29–33,
Merck’s argument that the DPNP violates the First Amendment also fails.
19
         Medicare     Primer      at    3,   Cong.      Rsch.    Serv.      (May      21,  2020),
https://crsreports.congress.gov/product/pdf/R/R40425/55. Under this model, physicians were paid
according to “the lowest of (1) the physician’s billed charge for the service, (2) the physician’s
customary charge for the service, or (3) the prevailing charge for that service in the community.”
Id. at 3 n.7.
                                                 9
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giving HHS increasing authority to curb costs. Thus, in 1972, six years after the Government first

began paying Medicare providers, Congress limited reasonable costs and charges to the Medical

Economic Index, which tracks the physician’s cost of doing business (as opposed to what the

physician charges patients).20

       In subsequent years, Congress began setting rates for reimbursement by adopting

prospective payment systems for hospitals and fee schedules for physicians and other providers,

which are updated annually and establish the payment rates for the following year.21 In 1983, the

Government began using the inpatient prospective payment system (IPPS) to set reimbursement

rates for hospitals treating Medicare beneficiaries in acute inpatient settings, based on diagnosis-

related groups (DRGs).22 Under this methodology, the Medicare program establishes a fee

schedule for the following year that pays hospitals a base payment amount (based on data from

hospitals in the program), which includes payments for operating costs and capital expenses,

subject to adjustments for geographic location, diagnoses, quality performance, and other factors.23

The base IPPS payment amount is updated annually to account for inflation and other changes in

the components of the rate.24




20
        See Benson L. Dutton, Jr. & Peter McMenamin, The Medicare Economic Index: Its
Background and Beginnings, Health Care Finance Rev. (Sept. 1981).
21
        Critical access hospitals (CAHs) represent a small statutory exception. Facilities with no
more than 25 beds that primarily operate in rural settings, CAHs may bill Medicare for reasonable
costs. See Critical Access Hospitals Payment System, Medicare Payment Advisory Comm’n (Oct.
2022),                                                              https://www.medpac.gov/wp-
content/uploads/2021/11/MedPAC_Payment_Basics_22_CAH_FINAL_SEC.pdf. As of October
2022, only about 1,300 hospitals nationwide were designated as CAHs.
22
        See Medicare Hospital Payments: Adjusting for Variation in Geographic Area Wages,
Cong. Rsch. Serv. (Mar. 3, 2021), https://crsreports.congress.gov/product/pdf/R/R46702.
23
        Id.
24
        Id.
                                                10
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       Similarly, for services provided in hospital outpatient departments under Part B,25 in 2000

CMS implemented the outpatient prospective payment system (OPPS) annually to set

reimbursement rates for the subsequent year.26 Using a coding system that classifies services based

on their clinical attributes and cost, the OPPS sets payment rates by multiplying the average cost

of services in the relevant classification by a wage-adjusted conversion factor.27

       Today, Medicare also regulates the prices it pays physicians under Part B pursuant to the

Medicare fee schedule (MFS).28 The MFS is an administered price structure developed through a

relatively complex formula grounded in elaborate data analyses. Relying on the same coding

system used by the OPPS, the MFS generally sets payment rates by service—including everything

from discrete services like injections to bundles of services for more complex procedures like

surgeries.29 The MFS provides for far lower prices than what commercial insurers pay, with

commercial insurers paying an average of 129% of MFS prices for physician services.30 Medicare

also regulates prices for services administered to beneficiaries of private plans under Part C, where

plans are paid based on bids under a formula-based payment system, using benchmarks tied to the

average spending under traditional Medicare per beneficiary under Parts A and B.31 In addition to




25
        The OPPS does not include payments for a physician’s services. See Outpatient Hospital
Services Payment System, Medicare Payment Advisory Comm’n (Oct. 2022),
https://www.medpac.gov/wp-
content/uploads/2022/10/MedPAC_Payment_Basics_22_OPD_FINAL_SEC_v3.pdf.
26
        Id.
27
        Id.
28
        See Omnibus Budget Reconciliation Act of 1989 (OBRA 1989), Pub. L. 101-239.
29
        See Physician and Other Health Professional Payment System, Medicare Payment
Advisory          Comm’n            (Oct.        2022),          https://www.medpac.gov/wp-
content/uploads/2021/11/MedPAC_Payment_Basics_22_Physician_FINAL_SEC.pdf.
30
        Michael Cohen, Jared Maeda, & Daria Pelech, The Prices That Commercial Health
Insurers and Medicare Pay for Hospitals’ and Physicians’ Services, Cong. Budget Off. (Jan.
2022), https://www.cbo.gov/publication/57778.
31
        See Medicare Advantage Program Payment System, supra note 7.
                                                 11
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all these programs, throughout Medicare’s history, Congress has repeatedly imposed additional

limits on increases to hospital and physician payment rates.32

        None of these payment systems is subject to negotiation. To the contrary, providers other

than physicians who do not agree to these terms must totally opt out of the Medicare program.

Physicians who do not contract with Medicare must accept a lower payment from the program.33

     B. Congress Has Empowered Federal Healthcare Programs Other than Medicare to
        Regulate Drug Prices.

        For more than 30 years, Congress has attempted to address the rapidly rising costs of drugs

for patients and federal healthcare programs by placing significant restrictions on drug prices paid

by Medicaid; all direct federal purchasers of drugs; federal healthcare programs administered by

the VA, the DoD, the Coast Guard, and the Public Health Service (PHS); and the Vaccines for

Children (VFC) program administered by HHS. Through Section 340B of the Public Health

Service Act, Congress has restricted prices for certain drugs used by nonprofit hospitals and

federally funded health centers. In recent years, Congress has also imposed some modest

regulation of prescription drug prices in Part D.

     1. Medicaid

        In response to rising drug prices and projected increased Medicaid spending, under the

Medicaid Prescription Drug Rebate Program (MDRP), created in 1990 by the Omnibus

Reconciliation Act,34 a drug company that chooses to participate in the Medicaid program must


32
        See, e.g., Balanced Budget Act of 1997, Pub. L. No. 105-33 (1997); Patient Protection and
Affordable Care Act of 2010, Pub. L. No. 111-148 (2010).
33
        See Nancy Ochieng & Gabrielle Clerveau, How Many Physicians Have Opted Out of the
Medicare Program?, Kaiser Fam. Found. (Sept. 11, 2023), https://www.kff.org/medicare/issue-
brief/how-many-physicians-have-opted-out-of-the-medicare-program/.
34
        Prescription Drug Pricing: Are We Getting Our Money’s Worth?, U.S. Senate Special
Comm.           on        Aging       (U.S.       Gov’t         Printing       Off.        1989),
https://www.aging.senate.gov/imo/media/doc/reports/rpt289.pdf.
                                                    12
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enter into a rebate agreement with HHS providing that it will rebate a specified portion of the

Medicaid payment for the drug to the States, which affects the share of Medicaid costs paid by the

federal government. 42 U.S.C. § 1396r-8. In exchange, Medicaid will cover nearly all the

manufacturer’s FDA-approved drugs. Id. Though the pharmacy benefit is optional, all States cover

prescription drugs,35 and approximately 780 drug manufacturers participate in the MDRP.36

        For brand-name drugs, the rebate is 23.1% of Average Manufacturer Price (AMP) or the

difference between AMP and “best price,” whichever is greater. 42 U.S.C. § 1396r-8(c). Best price

is defined as the lowest available price to any wholesaler, retailer, or provider, excluding certain

government programs, such as the health program for veterans. Id. § 1396r-8(c)(1)(C). AMP is

defined as the average price paid to drug manufacturers by wholesalers and retail pharmacies. Id.

§ 1396r-8(k)(1)(A).37 For generic drugs, the rebate amount is 13% of AMP, and there is no “best

price” provision. There is also an inflationary penalty if the drug’s price rises faster than the rate

of inflation. Id. § 1396rr-8(c)(2).

     2. Direct Federal Purchasers

        The Federal Supply Schedule (FSS) establishes prices available to all direct federal

purchasers, including the VA, DoD, PHS, and the Coast Guard. 38 U.S.C. § 8126(a)–(b). The FSS

is intended to allow direct federal purchasers to buy brand-name drugs at prices equal to or below




35
        Prescription     Drugs,      CMS,       https://www.medicaid.gov/medicaid/prescription-
drugs/index.html#:~:text=Although%20pharmacy%20coverage%20is%20an,within%20their%2
0state%20Medicaid%20programs.
36
        See          Medicaid           Drug            Rebate         Program,           CMS,
https://www.medicaid.gov/medicaid/prescription-drugs/medicaid-drug-rebate-
program/index.html#:~:text=Approximately%20780%20drug%20manufacturers%20currently,of
%20the%20Social%20Security%20Act.
37
        This price includes discounts provided to retail pharmacies but does not include service
fees or rebates or discounts to other purchasers (like managed care organizations and pharmacy
benefit managers). See 42 U.S.C. § 1396r-8(k)(1)(B).
                                                 13
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the lowest prices negotiated between manufacturers and their most-favored commercial customers,

defined as the customers that receive the best discount or price agreement.38 If a drug company

fails to comply with this provision, it may not receive payments from Medicaid, DoD, PHS, the

Coast Guard, or any entity that receives funding under the Public Health Service Act. 38 U.S.C. §

8126(a).

     3. VA, DoD, PHS, and the Coast Guard

        The 1992 Veterans Health Care Act created an additional mechanism for lowering drug

prices for the four largest federal purchasers: the VA, DoD, PHS, and the Coast Guard (collectively

referred to as the “Big Four”).39 38 U.S.C. § 8126(b). The federal ceiling price (FCP) established

by the 1992 Act is 76% of the non-FAMP or the average sales price to purchasers outside the

federal government, with an adjustment if the non-FAMP grew more quickly than the rate of

inflation during the previous one-year period.40

        The combination of the FSS, this discount, and the fact that the VA is a single, integrated

health system with a unified list of covered drugs strengthens the VA’s bargaining position to

negotiate drug prices. As a result, the VA is generally receiving the lowest drug prices of any

federal program—paying around 55% of the average net price paid by Medicare Part D.41




38
       See A Comparison of Brand-Name Drug Prices Among Selected Federal Programs at
10–13, Cong. Budget Off. (Feb. 2021), https://www.cbo.gov/publication/57007.
39
       The prices available to the Big Four for brand-name drugs are the lower of the FFS price
and the cap set by this law. See Prices for Brand Name Drugs Under Selected Federal Programs
at 8, Cong. Budget Off. (June 2005), https://www.cbo.gov/sites/default/files/109th-congress-
2005-2006/reports/06-16-prescriptdrug.pdf.
40
       Id.
41
       A Comparison of Brand-Name Drug Prices Among Selected Federal Programs, supra note
38).
                                                   14
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     4. Vaccines for Children (VFC) Program

        In 1993, as part of the Omnibus Budget Reconciliation Act, Congress created the VFC

Program to expand access to childhood vaccines by providing free vaccines to eligible children.42

Children are eligible for participation in the VFC Program if they are eligible for Medicaid,

uninsured, underinsured, or are American Indian or Native Alaskan.43 The VFC Program

authorizes HHS to negotiate the price of vaccines and purchase doses directly from manufacturers

at discounted prices.44

     5. 340B

        In 1992, also as part of the Veterans Health Care Act, Congress created the 340B Program

under Section 340B of the Public Health Service Act to provide certain nonprofit hospitals and

federally funded clinics servicing low-income patients (under the statute, “covered entities”) with

outpatient drug discounts comparable to those available to state Medicaid agencies. As a condition

of having their outpatient drugs covered through Medicaid and Medicare Part B, drug

manufacturers are required to offer 340B hospitals and clinics outpatient drugs at or below a

discount of 23.1% for brand drugs and 13% for generic drugs. 42 U.S.C. § 256b(a)(1).

     6. Medicare

        Through the ACA in 2010, Congress also created mandatory discounts for brand-name

drugs in certain circumstances under Part D where beneficiaries are responsible for paying a




42
         Vaccines for Children Program (VFC): VFC Childhood Vaccine Supply Policy, Ctrs. for
Disease       Control      &      Prevention    (last    reviewed       Feb.     18,     2016),
https://www.cdc.gov/vaccines/programs/vfc/about/distribution.html.
43
         Vaccines for Children Program (VFC): About VFC, Ctrs. for Disease Control & Prevention
(last reviewed Aug. 18, 2023), https://www.cdc.gov/vaccines/programs/vfc/about/index.html.
44
         See Vaccines for Children Program (VFC): VFC Childhood Vaccine Supply Policy, supra
note 42.
                                                15
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portion of their drug’s cost. See 42 U.S.C. § 1395w-114a. This requirement will be replaced in

2025 with another mandatory discount of 20% that will apply after a beneficiary hits the annual

out-of-pocket $2,000 threshold, per a provision of the IRA not challenged by Merck in this

litigation. See id. § 1395w-114c(g)(4)(ii).

    C. Courts Have Consistently Rejected Takings Clause Challenges to Federal Healthcare
    Programs that Limit Prices.

       As the Government has explained, see Defs. Opp’n at 12–28, Merck’s Takings Clause

argument has no support in existing case law. In fact, although numerous regulated parties have

brought Fifth Amendment Takings Clause challenges against federal healthcare programs over the

past 40 years, to our knowledge not one of those claims has succeeded. To the contrary, “a long

line of cases instructs that no taking occurs where a person or entity voluntarily participates in a

regulated program or activity.” Baker Cnty. Med. Servs. Inc. v. U.S. Atty. Gen., 763 U.S. F.3d

1274, 1276 (11th Cir. 2014); Garelick v. Sullivan, 987 F.2d 913, 916 (2d Cir. 1993), cert. denied,

510 U.S. 821 (1993); Burditt v. U.S. Dep’t of Health & Human Servs., 934 F.2d 1362, 1376 (5th

Cir. 1991); Whitney v. Heckler, 780 F.2d 963 (11th Cir. 1986); Minn. Ass’n of Health Care

Facilities, Inc. v. Minn. Dep’t of Pub. Welfare, 742 F.2d 442, 446 (8th Cir. 1984); St. Francis

Hosp. Ctr. v. Heckler, 714 F.2d 872, 875 (7th Cir. 1983).

   1. Medicare

       In Garelick v. Sullivan, the Second Circuit rejected the plaintiff anesthesiologists’

challenge to a federal statute limiting reimbursement rates for services provided under Medicare

Part B. 987 F.2d at 914–15. Although no provision of federal law mandated the anesthesiologists’

participation in Medicare, the plaintiffs argued that they were compelled to participate in the

program because New York state law effectively required hospitals to treat all Medicare patients,

and it would not be “economically viable” for the anesthesiologists to practice outside of hospitals,

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where most of the procedures requiring their services are performed. Id. at 917. But the court

explained, “economic hardship is not equivalent to legal compulsion,” which is required for a

regulation to give rise to a taking under the Fifth Amendment. Id.; see also Heckler, 714 F.2d at

875 (The “fact that practicalities may in some cases dictate participation does not make

participation involuntary.”).

     2. The Emergency Medical Treatment and Active Labor Act

        Courts have also rejected takings challenges to the Emergency Medical Treatment and

Active Labor Act (“EMTALA”), which requires Medicare-participating hospitals to provide

medical care (screening and stabilization services) to all patients who present with an emergency

medical condition, regardless of their ability to pay for care. 42 U.S.C. §§ 1395dd(a), (b)(1)(A),

(h). Hospitals that violate EMTALA are subject to exclusion from Medicare and state healthcare

programs as well as penalties of up to $119,942 (adjusted for inflation) per violation45 and civil

damages available under the relevant state personal injury laws from suits brought by individuals

harmed by such violation. Id. §§ 1395dd(d)(1)(A), (2)(A). Recently, in Virginia Hospital &

Healthcare Association v. Roberts, the Eastern District of Virginia rejected the plaintiffs’ claim

that the federal government effected a per se taking through EMTALA’s mandatory emergency

care requirement. 2023 WL 3132005 (E.D. Va. Apr. 27, 2023). The plaintiffs argued that they

were “virtually compelled” to provide emergency services without just compensation under

EMTALA because Virginia’s “certificate of public need” program required participating hospitals

to treat Medicare and Medicaid patients, and Medicare participants are required to participate in

EMTALA. Id. at *4–5. The court disagreed. The correct question was whether the plaintiffs’




45
        For physicians and hospitals with fewer than 100 beds, the maximum penalty is $59,973.
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“participation in Medicaid and Medicare are voluntary as a matter of federal law.”46 Id. at *23.

     3. 340B Drug Program

        Courts have also dismissed takings challenges to the 340B Drug Program, where as a

condition to participating in Medicaid and Medicare Part B, drug companies are required to give

significant discounts on outpatient prescription drugs purchased by public and not-for-profit

hospitals and federally funded clinics serving low-income patients to provide to their patients. Eli

Lilly & Co. v. U.S. Dep’t of Health & Human Servs., 2021 WL 5039566 (S.D. Ind. Oct. 29, 2021);

Sanofi-Aventis U.S., LLC v. U.S. Dep’t of Health & Human Servs., 570 F. Supp. 3d 129 (D.N.J.

2021), reversed on other grounds, 58 F.4th 696 (3d Cir. 2023). Since the beginning of the program,

drug companies provided 340B discounts for drugs dispensed through both in-house and outside

(i.e., contract) pharmacies. See e.g., Notice Regarding Section 602 of the Veterans Health Care

Act of 1992; Contract Pharmacy Services, 61 Fed. Reg. 43,549 (Aug. 23, 1996); Notice Regarding

340B Drug Pricing Program—Contract Pharmacy Services, 75 Fed. Reg. 10,272 (Mar. 5, 2010).

Beginning in 2020, various drug companies challenged the requirement that they provide

discounted drugs to covered entities via an unlimited number of contract pharmacies.

        The Eli Lilly Company argued that the program effected a taking “by forcing Lilly to

transfer its drugs to contract pharmacies solely to serve those entities’ private interests, and that,

by requiring Lilly to succumb to a private taking of property to obtain coverage of its drugs under

federal health-insurance programs,” the program imposed “an unconstitutional condition on a

valuable government benefit.” Eli Lilly, 2021 WL 5039566, at *21. The Southern District of



46
        The Eastern District of Virginia also rejected the plaintiffs’ comparison to Horne v. Dep’t
of Agric., 576 U.S. 350 (2015), which Merck relies on extensively in this case. The court explained
that “Horne is distinguishable because it involved a regulatory scheme in which plaintiffs were
forced to yield part of their property, their crop of raisins, to the Government without receiving
any benefit whatsoever.” Va. Hosp. & Healthcare Ass’n, 2023 WL 3132005, at *23.
                                                 18
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Indiana disagreed. The plaintiff’s voluntary participation in the 340B Drug Program “forecloses

the possibility that the statute could result in an imposed taking of private property which would

give rise to the constitutional right of just compensation.” Id. (quoting S.E. Ark. Hospice, Inc. v.

Burwell, 815 F.3d 448, 450 (8th Cir. 2016)). Although withdrawing from 340B—and necessarily,

Medicaid and Medicare Part B—would “result in a significant financial impact for” the plaintiff,

such realities were insufficient to find legal compulsion for the purposes of the court’s takings

analysis. Id. In a separate lawsuit, filed in the District of New Jersey, Novo Nordisk also made the

same takings argument, which that court rejected on multiple grounds including that “Novo has

not lost all ‘economically viable use’ associated with 340B-priced drugs.” Sanofi-Aventis U.S.,

LLC, 570 F. Supp. 3d at 207-210.

   4. Reimbursement Rates for Detainees in Federal Facilities

       The Eleventh Circuit likewise upheld 18 U.S.C. § 4006(b)(1), a federal statute setting

maximum reimbursement rates for emergency services provided to detainees in federal jails and

prisons at Medicare reimbursement rates. Baker Cnty. Med. Servs., 763 F.3d at 1280. Although §

4006 was not cross-referenced in the Medicare statute and § 4006 did not require the provision of

emergency services for federal detainees, the plaintiff hospital argued that the statute effected an

unconstitutional taking because, under both EMTALA and Florida state law, the plaintiff was

required to provide emergency care for all patients, including detainees. See id. at 1279–80. Even

leaving aside the state law that essentially required participation in EMTALA, the plaintiff hospital

argued that it could not practically withdraw from Medicare because such withdrawal would result

in a “grave financial setback” and leave Medicare participants in the plaintiff’s rural county with

no other place to receive care. Id. The court was unpersuaded, finding that the plaintiff nonetheless

voluntarily participated in Medicare (and, accordingly, voluntarily provided care to federal


                                                 19
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detainees), so the limits to reimbursement rates for such care under § 4006 was not a taking under

the Fifth Amendment. Id. at 1278 (citing Bowles v. Willingham, 321 U.S. 503 (1944)).

   5. State Legislation

       According to the Eighth Circuit, a Minnesota state statute requiring nursing homes

participating in Medicaid to accept limits on rates charged to certain residents did not constitute a

per se taking under the Fifth Amendment. See Minn. Ass’n of Health Care Facilities, 742 F.2d at

446. The court explained that despite “the strong financial inducement to participate in Medicaid

. . . a nursing home’s decision to do so is nonetheless voluntary,” which “forecloses the possibility

that the statute could result in an imposed taking of private property which would give rise to the

constitutional right of just compensation.” Id. To support its analysis, the court contrasted

participation in federal healthcare programs with participation in public utilities because, unlike

public utility providers, nursing homes “have freedom to decide whether to remain in business and

thus subject themselves voluntarily to the limits imposed by [the state] on the return they obtain

from investment of their assets in nursing home operation.” Id.

                                    *          *           *           *

       Like the plaintiffs in Garelick, Virginia Hospital & Healthcare Association, Burditt, Eli

Lilly, Baker County Medical Services, and Minnesota Association of Health Care Facilities, Merck

has not suffered an unconstitutional taking. In fact, Merck’s argument is weaker than the claims

brought by the plaintiff anesthesiologists in Garelick. Unlike drug companies, which market their

drugs outside of Medicare and Medicaid, virtually the only place of anesthesiologists’ practice is

hospitals. But as the Second Circuit pointed out, economic pressure to participate in a federal

program does not constitute a taking. Garelick, 987 F.2d at 917. Further, unlike in Baker County




                                                   20
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Medical Services, Merck does not argue that it is somehow legally compelled to participate in

Medicare.

        Rather, Merck essentially contends that its desire to continue reaping profits from its

relationship with Medicare and Medicaid leaves it without a choice not to participate. But

according to the courts that have evaluated this issue, it does not matter that a significant portion

of Merck’s business is selling drugs to Medicare; Merck does so voluntarily. As a result of that

choice, Merck must abide by the Medicare program’s requirements, including the requirements of

the DPNP. Even if Merck’s withdrawal from Medicare would cause significant financial loss, its

economic hardship does not support its Fifth Amendment claim.

     D. NFIB is Inapposite.

        As the Government explains in its Cross-Motion, see Defs. Opp’n 18–24, NFIB has no

application to the issues in this case. In NFIB, the Supreme Court considered a provision of the

ACA requiring that States expand their Medicaid programs to cover low-income adults or risk the

federal government withholding all Medicaid funding. See 567 U.S. at 585. Unlike Medicare,

which is 100% funded by the federal government and the payments of beneficiaries, Medicaid is

jointly administered and funded by the federal government and the States, which in fiscal year

2021 paid 31% of Medicaid’s total spending.47 In NFIB, the Court addressed whether the ACA’s

requirement that States accept and partially pay for the ACA’s expansion of Medicaid as a

condition to remaining in the Medicaid program violated the Tenth Amendment, which limits the

power of the federal government to compel action by the States. See 567 U.S. at 585 (explaining



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        See Elizabeth Williams, Robin Rudowitz, & Alice Burns, Medicaid Financing: The Basics,
Kaiser Fam. Found. (Apr. 13, 2023), https://www.kff.org/medicaid/issue-brief/medicaid-
financing-the-
basics/#:~:text=Medicaid%20spending%20is%20shared%20by,the%20federal%20government%
20paid%2069%25.
                                                 21
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that “Congress may not simply ‘conscript state [agencies] into the national bureaucratic army,’

and that is what it is attempting to do with the Medicaid expansion”) (internal citation omitted).

NFIB does not apply here because, unlike the States which have rights under the Tenth

Amendment, Merck is a private company that can choose whether to enter into contracts to sell its

drugs to the federal government and other healthcare providers.


                                        CONCLUSION

       For the foregoing reasons and those set forth in Defendants’ Memorandum of Law in

Opposition to Plaintiff’s Motion for Summary Judgment and in Support of Defendants’ Cross-

Motion for Summary Judgment, this Court should grant Defendants’ Cross-Motion and deny

Plaintiff’s Motion.


Date: September 18, 2023                            Respectfully submitted,

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